
947 N.E.2d 771 (2011)
PEOPLE State of Illinois, respondent,
v.
Dennis McGRUDER, petitioner.
No. 108926.
Supreme Court of Illinois.
May 25, 2011.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. McGruder, case No. 1-07-2569 (06/17/09). The Appellate Court is instructed to reconsider its decision in light of People v. Morris, 236 Ill.2d 345, 338 *772 Ill.Dec. 863, 925 N.E.2d 1069 (2010), to determine whether a different result is warranted.
THEIS, J., took no part.
